
CHATELAIN, Judge.*
hFor the reasons discussed in the companion case in this consolidated matter, Lake Charles Memorial Hospital (Stephen Babin) v. Hobby Lobby Stores, Inc., (La.App. 3 Cir. 11/24/10), 108 So.3d 102, 2010 WL 4742007, we reverse the WCJ’s denial of LCMH’s claims that Hobby Lobby underpaid it for the services it rendered to Hobby Lobby’s employees and order that Hobby Lobby reimburse LCMH in accordance with the Reimbursement Schedule, as well as the WCJ’s denial of LCMH’s claims for penalties and attorney fees for Hobby Lobby’s failure to reimburse it according to the Reimbursement Schedule. Further, we award $2000 in penalties with regard to each claim and award attorney fees in the amount of $1900 in the Babin case and $2000 in the Hines and Hebert cases for work performed before the WCJ; we award $1500 in attorney fees with regard to each claim for work performed on this appeal. We affirm the WCJ’s award of penalties and attorney fees for Hobby Lobby’s late reimbursement of LCMH’s claims. All costs are assessed to Hobby Lobby.
AFFIRMED IN PART; REVERSED IN PART; RENDERED.

 Honorable David E. Chatelain participated in this decision by appointment of the Louisiana Supreme Court as Judge Pro Tempore.

